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                    IN THE UNITED STATES DISTRICT COURT
                    DISTRICT OF MONTANA - BUTTE DIVISION


 COTTONWOOD                              )
 ENVIRONMENTAL LAW CENTER;               )
 MONTANA RIVERS; and GALLATIN            ) Case No. 2:20-cv-00028-BMM
 WILDLIFE ASSOCIATION,                   )
                                         )
                     Plaintiffs,         )
        vs.                              )  NOTICE OF SUPPLEMENTAL
                                         )            AUTHORITY
 BIG SKY WATER AND SEWER                 )
 DISTRICT; BOYNE USA, INC.,              )
                                         )
                    Defendants.          )
                                         )
                                         )
                                         )
                                         )
                                         )
                                         )
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      Pursuant to Local Rule 7.4, Plaintiffs Cottonwood Environmental Law Center,

Montana Rivers, and Gallatin Wildlife Association provide the Court with this Notice

of Supplemental Authority for purposes of the pending Motion for a New Trial and

Motion for the Insurance Representative to Appear at Mediation Remotely. Docs. 172

& 188. The Montana Bureau of Mining and Geology recently published the

illustration below showing the Groundwater drain on Boyne’s Golf Course and the

Big Sky Water & Sewer District’s underdrain pipe directly east of Boyne’s

Groundwater drain are not discharging nitrogen pollution from by a known plume.

Exhibit 1 at 23.




      During trial, the Sewer District’s expert testified that the leaking septic system

from the Firelight Meadows subdivision is the “largest contributor” of the nitrogen

pollution being discharged from its underdrain pipe. Exhibit 2; see also Doc. 76-5 at 15
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(“there are significant sources of nitrogen to the south, including a large subdivision

that discharges a secondary treated effluent directly to groundwater.”) Boyne has

taken the position its insurance representative should not have to appear in-person for

the mediation because “the monetary relief that Plaintiffs seek in their settlement

demand is indefensible, particularly considering that a jury has already returned a

verdict in favor of Big Sky Water and Sewer District (“BSWSD”) over Plaintiffs’ claim

that BSWSD violated the Clean Water Act in a bifurcated trial based on practically the

same facts and issues in this case.” Doc. 192 at 2 (emphasis added).

       Respectfully submitted this 15th day of July, 2022.

                                                  /s/ John Meyer
                                                  JOHN MEYER

                                                  Attorney for Plaintiffs



                            CERTIFICATE OF SERVICE

       I certify that on July 15, 2022, I served the foregoing brief via CM/ECF on

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